

People v Bryan (2024 NY Slip Op 50763(U))



[*1]


People v Bryan (Lisa)


2024 NY Slip Op 50763(U)


Decided on June 25, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on June 25, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Tisch, James, JJ.



570600/19

The People of the State of New York, Respondent,
againstLisa Bryan, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Laurie Peterson, J.), rendered February 1, 2019, convicting her, upon her plea of guilty, of criminal possession of a controlled substance in the seventh degree, and imposing sentence.




Per Curiam.
Appeal from judgment of conviction (Laurie Peterson, J.), rendered February 1, 2019, dismissed.
The present record on appeal does not establish that the forfeiture agreement now challenged was part of the judgment of conviction and thus reviewable on this appeal (see People v Burgos, 129 AD3d 627 [2015], lv denied 26 NY3d 1038 [2015]). We note that the agreement is not in the record. Since it was defendant's burden to assemble a record sufficient to permit appellate review (see People v Milton, 21 NY3d 133, 137 [2013]; People v2 McLean, 15 NY3d 117, 121 [2010]), and no other issues are raised with respect to the judgment of conviction, the appeal is dismissed.
All concur
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
Clerk of the Court 
Decision Date: June 25, 2024









